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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
                                          :
JOHN DOE,                                 :                  CIVIL ACTION
                                          :
                  Plaintiff,              :
                                          :
            v.                            :                  NO. 21-cv-01648
                                          :
THERMO ELECTRIC COMPANY, INC.             :
THERMO ELECTRIC PA, INC.; PIERRE          :
EMMANUEL-LUCQ; BRANDON CONLIN,            :
                                          :
                  Defendants.             :
__________________________________________:


                                             ORDER


       AND NOW, TO WIT: This 7th day of October, 2021, it having been reported that the

issues between the parties in the above action have been settled and upon Order of the Court

pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it

is

       ORDERED that the above action is DISMISSED with prejudice, pursuant to agreement

of counsel without costs. The Clerk of Court is directed to mark this case closed.



                                                     KATE BARKMAN
                                                     Clerk of Court

                                      BY:
                                                     /s/ Sharon Lippi
                                                     Sharon Lippi, Civil Deputy Clerk
                                                     To Hon. Mitchell S. Goldberg
